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                   IN THE UNITED STATES DISTRICT COURT

               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_______________________________________

UNITED STATES OF AMERICA                      :     NO.    2:19-CR-00516-WB
                                              :
                   vs.                        :
                                              :
ARI SHAW                                      :
_______________________________________


                                      ORDER


      AND NOW, this ____________ day of _____________, 2020 , it is hereby ORDERED and

DECREED that defendant’s Motion for a Continuance of Trial is GRANTED.



                                              BY THE COURT:


                                              _____________________________
                                                                           J.
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                       IN THE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_______________________________________

UNITED STATES OF AMERICA                              :       NO.     2:19-CR-00516-WB
                                                      :
                       vs.                            :
                                                      :
ARI SHAW                                              :
_______________________________________


                         MOTION FOR CONTINUANCE OF TRIAL


       AND NOW, the defendant, Ari Shaw, by and through her attorney, Louis T. Savino, Jr.,

Esquire, does file the within Motion and avers as follows:



       1.      The defendant, Ari Shaw, has retained the legal services of Louis T.

               Savino, P.C. to represent her in the above captioned criminal matter.



       2.      Trial in this matter is scheduled for March 23, 2020 before the

               Honorable Wendy Beetlestone, United States District Judge - United

               States District Court for the Eastern District of Pennsylvania.



       3.      A sixty (60) day continuance of trial is respectfully requested so that

               defense may engage in plea negotiations with the government in the

               hope of achieving a non-trial disposition.
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     4.      The Government, through its representative, Megan Curran, Esquire,

             (AUSA) has no objection to the within request.



     5.      It is respectfully submitted that the case in its present posture is

             “untriable”. It is also respectfully submitted that the ends of justice

             in the defendant’s need to continue the trial for preparation purposes

             outweigh the public interest in a speedy disposition of the within

             matter. See, 18 U.S.C. § 3161 et. seq.



     WHEREFORE, for all of the foregoing reasons, it is respectfully requested that the within

Motion be GRANTED.



                                                   Respectfully submitted,




                                                       By: _____________________________
                                                           LOUIS T. SAVINO, ESQ.
                                                           Attorney for Defendant
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                          CERTIFICATE OF SERVICE

Louis T. Savino, Esquire being duly sworn according to law , deposes and says that

on the 3rd day of March, 2019 a copy of the within document was served upon the

following individuals via electronically:



                      Honorable Wendy Beetlestone
                        United States District Judge
                     United States District Court for the
                      Eastern District of Pennsylvania
                         United States Courthouse
                             601 Market Street
                          Philadelphia, PA 19106


                          Megan Curran, Esquire
                    Office of the United States Attorney
                                  Suite 1250
                             615 Chestnut Street
                           Philadelphia, PA 19106




                                               By: _____________________________
                                                   LOUIS T. SAVINO, ESQ.
                                                   Attorney for Defendant
